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 9                    UNITED STATES DISTRICT COURT FOR THE
10           CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
11

12   HANAN MEGALLA and OSAMA                  COMPLAINT FOR DAMAGES
13   MEGALLA, individually; and               FOR:
14
     VERONICA MARTINEZ and ABEL
15   MARTINEZ, individually;                   1. LIABILITY FOR AIDING AND
                                                  ABETTING ACTS OF
16
                                                  INTERNATIONAL TERRORISM
17                       Plaintiffs,              PURSUANT TO 18 U.S.C. §
                                                  2333(a) and (d)
18
      vs.
19                                             2. LIABILITY FOR CONSPIRING
                                                  IN FURTHERANCE OF ACTS OF
20
     TWITTER, INC., GOOGLE, INC.,                 INTERNATIONAL TERRORISM
21   and FACEBOOK, INC.                           PURSUANT TO 18 U.S.C. §2333(a)
                                                  and (d)
22
                            Defendants.
23                                             3. PROVISION OF MATERIAL
                                                  SUPPORT TO TERRORISTS IN
24
                                                  VIOLATION OF 18 U.S.C. § 2339a
25                                                AND 18 U.S.C. § 2333
26

27

28

                                       1
                   COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1

 2                                      4. PROVISION OF MATERIAL
 3                                         SUPPORT AND RESOURCES TO
                                           A DESIGNATED FOREIGN
 4                                         TERRORIST ORGANIZATION
 5                                         IN VIOLATION OF 18 U.S.C. §
                                           2339B(a)(1) AND 18 U.S.C. §
 6                                         2333(a)
 7
                                        5. NEGLIGENT INFLICTION OF
 8                                         EMOTIONAL DISTRESS
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10                                     JURY TRIAL DEMANDED
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            COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1                                                     COMPLAINT
 2              NOW COME Plaintiffs, by and through their attorneys, and allege the following
 3   against Defendants Twitter, Inc., Google, Inc., Facebook, Inc. (“Defendants”):
 4

 5                                               NATURE OF ACTION
 6
     1.       For years, Defendants have knowingly and recklessly provided the terrorist group
 7
              ISIS with accounts to use its social networks as a tool for spreading extremist
 8
              propaganda, raising funds, and attracting new recruits. This material support has
 9

10
              been instrumental to the rise of ISIS and has enabled it to carry out or cause to be

11
              carried out, numerous terrorist attacks, including December 2, 2015, attack in San

12
              Bernardino where 14 were killed and 22 were seriously injured. Defendants are

13
              information content providers because they create unique content by combining

14
              ISIS postings with advertisements in a way that is specifically targeted at the

15
              viewer. Defendants share revenue with ISIS for its content and profit from ISIS

16
              postings through advertising revenue.

17
     2.       Without Defendants Twitter, Facebook, and Google (YouTube), the explosive

18
              growth of ISIS over the last few years into the most feared terrorist group in the

19
              world would not have been possible. According to the Brookings Institution, ISIS

20
              “has exploited social media, most notoriously Twitter, to send its propaganda and

21            messaging out to the world and to draw in people vulnerable to radicalization.”1

22            Using Defendants’ sites, “ISIS has been able to exert an outsized impact on how

23            the world perceives it, by disseminating images of graphic violence (including the

24            beheading of Western journalists and aid workers) . . . while using social media

25            to attract new recruits and inspire lone actor attacks.” According to former FBI

26            Director James Comey, ISIS has perfected its use of Defendants’ sites to inspire

27            small-scale individual attacks, “to crowdsource terrorism” and “to sell murder.”

28   1
         https://www.brookings.edu/blog/markaz/2015/11/09/how-terrorists-recruit-online-and-how-to-stop-it/

                                              3
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 1   3.    Since first appearing on Twitter in 2010, ISIS accounts on Twitter have grown at
 2         an astonishing rate and, until recently, ISIS maintained official accounts on
 3         Twitter unfettered. These official accounts included media outlets, regional hubs
 4         and well-known ISIS members, some with tens of thousands of followers. For
 5         example, Al-Furqan, ISIS’s official media wing responsible for producing ISIS’s
 6         multimedia propaganda, maintained a dedicated Twitter page where it posted
 7         messages from ISIS leadership as well as videos and images of beheadings and
 8         other brutal forms of executions to 19,000 followers.
 9   4.    Likewise, Al-Hayat Media Center, ISIS’s official public relations group,
10         maintained at least a half dozen accounts, emphasizing the recruitment of
11         Westerners. As of June 2014, Al-Hayat had nearly 20,000 followers.
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23        Figure 1 Tweet by Al-Hayat Media Center Account @alhayaten Promoting an
          ISIS Recruitment Video
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25   5.    Another Twitter account, @ISIS_Media_Hub, had 8,954 followers as of
26         September 2014.
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                    COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                     Figure 2 ISIS Propaganda Posted on @ISIS_Media_Hub
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11   6.   As of December 2014, ISIS had an estimated 70,000 Twitter accounts, at least 79
12        of which were “official,” and it posted at least 90 tweets every minute.
13   7.   As with Twitter, ISIS has used Google (YouTube) and Facebook in a similar
14        manner.
15   8.   Plaintiffs’ claims are based not upon the content of ISIS’ social media postings,
16        but upon Defendants provision of the infrastructure which provides material
17        support to ISIS. Furthermore, Defendants profit from ISIS by placing ads on
18        ISIS’ postings. For at least one of the Defendants, Google, revenue earned from
19        advertising is shared with ISIS. Lastly, Defendants incorporate ISIS’ postings to
20        create unique content by combining the ISIS postings with advertisements
21        selected by Defendants based upon ISIS’ postings and the viewer looking at the
22        postings and the advertisements.
23                                           PARTIES
24   9.   Plaintiff Hanan Megalla is a citizen of the United States domiciled in the State of
25        California, County of San Bernardino. She brings this lawsuit on behalf of
26        herself.
27

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                     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1   10. Plaintiff Osama Megalla is a citizen of the United States domiciled in the State of
 2       California, County of San Bernardino. He brings this lawsuit on behalf of
 3       himself.
 4   11. Plaintiff Veronica Martinez is a citizen of the United States domiciled in the State
 5       of California, County of Los Angeles. She brings this lawsuit on behalf of herself.
 6   12. Plaintiff Abel Martinez is a citizen of the United States domiciled in the State of
 7       California, County of Los Angeles. He brings this lawsuit on behalf of himself.
 8   13. Defendant Twitter, Inc. (“Twitter”) is a publicly traded U.S. company
 9       incorporated in Delaware, with its principal place of business at 1355 Market
10       Street, Suite 900, San Francisco, California 94103.
11   14. Defendant Facebook, Inc. (“Facebook”) is a publicly traded U.S company
12       incorporated in Delaware, with its principal place of business at 1601 Willow
13       Road, Menlo Park, California, 94025.
14   15. Defendant Google Inc. (“Google”) is a publicly traded U.S company incorporated
15       in Delaware, with its principal place of business at 1600 Amphitheatre Parkway,
16       Mountain View, California, 94043. Google owns the social media site YouTube.
17       For the purposes of this complaint, Google and YouTube are used
18       interchangeably.
19
                                JURISDICTION AND VENUE
20

21   16. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
22       §1331 and 18 U.S.C. § 2333(a) as a civil action brought by a citizen of the United
23       States injured by reason of an act of international terrorism and the estate,
24       survivor, or heir of a United States citizen injured by reason of an act of
25       international terrorism.
26   17. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and 18 U.S.C. §
27       2334(a) because at least one of the Plaintiffs was a resident of the Central District
28

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                    COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1         of California, Western District and Defendants conduct significant business
 2         operations in the state of California and within the Central District of California.
 3
                                            ALLEGATIONS
 4

 5   18. ISIS, which stands for the Islamic State of Iraq and Syria, is also known as the
 6         Islamic State of Iraq and the Levant (“ISIL”), the Islamic State (“IS”), ad-Dawlah
 7         al-Islāmiyah fīl-ʿIrāq wash-Shām (“DAESH”) and al-Qaeda in Iraq (“AQI”).
 8   19. Originally affiliated with al Qaeda, ISIS’s stated goal is the establishment of a
 9         transnational Islamic caliphate, i.e. an Islamic state run under strict Sharia law.
10         By February 2014, however, ISIS’s tactics had become too extreme for even al
11         Qaeda and the two organizations separated.
12   20. Since its emergence in Iraq in the early 2000’s when it was known as AQI, ISIS
13         has wielded increasing territorial power, applying brutal, terrifying violence to
14         attain its military and political goals, including summary executions, mass
15         beheadings, amputations, shootings and crucifixions, which it applies to anyone it
16         considers an “unbeliever,” a “combatant” or a “prisoner of war.”
17   21. The United Nations and International NGOs have condemned ISIS for war
18         crimes and ethnic cleansing, and more than 60 countries are currently fighting to
19         defeat ISIS and prevent its expansion.
20   22. On December 17, 2004, the United States designated ISIS as a Foreign Terrorist
21         Organization (“FTO”) under Section 219 of the Immigration and Nationality Act,
22         as amended.
23   ///
24   ///
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                    COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1           ISIS is Dependent on Twitter, YouTube, and Facebook to Terrorize
 2                       ISIS Uses Defendants to Recruit New Terrorists
 3   23. One of ISIS’s primary uses of Defendants’ sites is as a recruitment platform,
 4       particularly to draw fighters from Western countries.
 5   24. ISIS reaches potential recruits by maintaining accounts on Twitter, YouTube, and
 6       Facebook so that individuals across the globe may reach out to them directly.
 7       After the first contact, potential recruits and ISIS recruiters often communicate
 8       via Defendants’ Direct Messaging capabilities. According to former FBI Director
 9       James Comey, “[o]ne of the challenges in facing this hydra-headed monster is
10       that if (ISIS) finds someone online, someone who might be willing to travel or
11       kill in place they will begin a Twitter direct messaging contact.” Indeed,
12       according to the Brookings Institution, some ISIS members “use Twitter purely
13       for private messaging or covert signaling.”
14   25. In addition to individual recruitment, ISIS members use Defendants to post
15       instructional guidelines and promotional videos referred to as “mujatweets.”
16   26. For example, in June 2014, ISIS fighters tweeted guidelines in English targeting
17       Westerners and instructing them on how to travel to the Middle East to join its
18       fight.
19   27. That same month, ISIS posted a recruitment video on various social media sites,
20       including Defendants. Although YouTube removed the video from its site, the
21       link remained available for download from Twitter. The video was further
22       promoted through retweets by accounts associated with ISIS.
23   28. ISIS also posted its notorious promotional training video, “Flames of War,”
24       narrated in English, in September 2014. The video was widely distributed on
25       Twitter through ISIS sympathizers. After joining ISIS, new recruits become
26       propaganda tools themselves, using Defendants to advertise their membership
27       and terrorist activities.
28

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 1   29. For example, in May 2013, a British citizen who publicly identified himself as an
 2         ISIS supporter tweeted about his touchdown in Turkey before crossing the border
 3         into Syria to join ISIS in the fight against the Syrian regime. And in December
 4         2013, the first Saudi Arabian female suicide bomber to join ISIS in Syria tweeted
 5         her intent to become a martyr for the ISIS cause, as she embarked for Syria.
 6   30. As another example, two Tunisian girls, ages 19 and 21, were lured by ISIS’s use
 7         of Facebook to travel to Syria believing they would be providing humanitarian
 8         aid2. Instead, they were taken to an ISIS compound where there were forced to
 9         serve as prostitutes and were repeatedly raped. The girls escaped during a
10         bombing of the compound and returned home.
11   31. Recently, it was reported that the leader of ISIS in the United Kingdom, Omar
12         Hussain, was using Facebook to recruit terrorists to launch attacks in the U.K. 3
13   32. After kidnapping and murdering Ruqia Hassan Mohammad, a female journalist
14         and activist, ISIS used her account to lure others into supporting ISIS4.
15   33. Through its use of Defendants’ sites, ISIS has recruited more than 30,000 foreign
16         recruits since 2013, including some 4,500 Westerners and 250 Americans.
17
                                 ISIS Uses Defendants to Fund Terrorism
18

19   34. ISIS also uses Defendants to raise funds for its terrorist activities.
20   35. According to David Cohen, the U.S. Treasury Department’s former Under
21         Secretary for Terrorism and Financial Intelligence, “[y]ou see these appeals on
22         Twitter in particular from, you know, well-know[n] terrorist financiers . . . and
23         they’re quite explicit that these are to be made to ISIL for their military
24         campaign.”
25

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     2
       http://www.teenvogue.com/story/isis-recruits-american-teens
27   3
       http://www.mirror.co.uk/news/uk-news/british-isis-leader-using-facebook-7545645?
     4
       http://www.independent.co.uk/news/world/middle-east/ruqia-hassan-mohammed-the-activist-and-citizen-journalist-
28   that-isis-murdered-and-then-posed-as-for-a6798111.html

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 1   36. The Financial Action Task Force confirms that “individuals associated with ISIL
 2       have called for donations via Twitter and have asked the donors to contact them.”
 3       These tweets even promote “donation tiers.” One ISIS-linked cleric with the
 4       Twitter account @Jahd_bmalk, for instance, sought donations for weapons with
 5       the slogan “Participate in Jihad with your Money.” The account tweeted that “if
 6       50 dinars is donated, equivalent to 50 sniper rounds, one will receive a ‘silver
 7       status.’ Likewise, if 100 dinars is donated, which buys eight mortar rounds, the
 8       contributor will earn the title of ‘gold status’ donor.” According to various tweets
 9       from the account, over 26,000 Saudi Riyals (almost $7,000) were donated.
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17    Figure 3 Fundraising Images from ISIS Twitter Accounts
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19   37. A similar Twitter campaign in the spring of 2014 asked followers to “support the
20       Mujahideen with financial contribution via the following reliable accounts” and
21       provided contact information for how to make the requested donations. In its
22       other Twitter fundraising campaigns, ISIS has posted photographs of cash gold
23       bars and luxury cars that it received from donors, as well as weapons purchased
24       with the proceeds.
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 9     Figure 4 Donations to ISIS Publicized on Twitter

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     38. As discussed more fully below, YouTube approves of ISIS videos allowing for
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         ads to be placed with ISIS videos. YouTube earns revenue from these
12
         advertisements and shares a portion of the proceeds with ISIS.
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     39. Below is an example of a video posted by ISIS on YouTube with a member
14
         speaking in French looking for Muslims to support ISIS’s cause online.
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         Figure 4 Donations to ISIS Publicized on Twitter
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 1
                      ISIS Uses Defendants’ Sites to Spread Its Propaganda

 2
     40. ISIS also uses Defendants’ sites to spread propaganda and incite fear by posting
 3
         graphic photos and videos of its terrorist feats.
 4
     41. Through Defendants’ sites, ISIS disseminates its official media publications as
 5
         well as posts about real-time atrocities and threats to its perceived enemies.
 6
     42. In October 2013, ISIS posted a video of a prison break at the Abu Ghraib prison
 7
         in Iraq, and its subsequent execution of Iraqi army officers.
 8
     43. In November 2013, an ISIS-affiliated user reported on Twitter that ISIS had
 9
         killed a man it mistakenly believed to be Shiite. Another post by an ISIS account
10
         purported to depict Abu Dahr, identified as the “suicide bomber that attacked the
11
         Iranian embassy.”
12
     44. In December 2013, an ISIS-affiliated user tweeted pictures of what it described as
13
         the killing of an Iraqi cameraman.
14
     45. In June 2014, ISIS tweeted a picture of an Iraqi police chief, sitting with his
15
         severed head perched on his legs. The accompanying tweet read: “This is our ball
16
         . . . it has skin on it.” ISIS then hashtagged the tweet with the handle #WorldCup
17
         so that the image popped up on the feeds of millions following the soccer
18
         challenge in Brazil.
19
     46. On July 25, 2014, ISIS members tweeted photos of the beheading of around 75
20
         Syrian soldiers who had been captured during the Syrian conflict.
21
     47. In August 2014, an Australian member of ISIS tweeted a photo of his seven-year-
22
         old son holding the decapitated head of a Syrian soldier.
23
     48. Also in August 2014, ISIS member Abu Musaab Hafid al-Baghdadi posted
24
         photos on his Twitter account showing an ISIS militant beheading a blindfolded
25
         captured Lebanese Army Sergeant Ali al-Sayyed.
26
     49. That same month, ISIS supporters tweeted over 14,000 tweets threatening
27
         Americans under the hashtags #WaronWhites and #AMessagefromISIStoUS,
28

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 1            including posting gruesome photos of dead and seriously injured Allied soldiers.
 2            Some of the photos depicted U.S. marines hung from bridges in Fallujah, human
 3            heads on spikes and the twin towers in flames following the 9/11 attacks. Other
 4            messages included direct threats to attack U.S. embassies around the world, and
 5            to kill all Americans “wherever you are.”
 6   50. Various ISIS accounts have also tweeted pictures and videos of the beheadings of
 7            Americans James Foley, Steven Sotloff, and Peter Kassig.
 8   51. To keep its membership informed, in April 2014, ISIS created an Arabic-
 9            language Twitter App called “The Dawn of Glad Tidings,” or “The Dawn,”
10            which posts tweets to thousands of users’ accounts, the content of which is
11            controlled by ISIS’s social media operation. The tweets include hashtags, links,
12            and images related to ISIS’s activities. By June 2014, the app reached a high of
13            40,000 tweets in one day as ISIS captured Mosul, Iraq.
14   52. ISIS has also used Twitter to coordinate hashtag campaigns, whereby it enlists
15            thousands of members to repetitively tweet hashtags at certain times of the day so
16            that they trend on Twitter, meaning a wider number of users are exposed to the
17            tweets. One such campaign dubbed a “Twitter storm,” took place on June 8,
18            2014, and led to a surge in followers.
19   53. In 2014, propaganda operatives from ISIS posted videos of photojournalist John
20            Cantile and other captors on both Twitter and YouTube 5. These operatives used
21            various techniques to ensure that ISIS’ posting was spread using Defendants’
22            sites. In her New York Times article, (Not “Lone Wolves” After All: How ISIS
23            Guides World’s Terror Plots From Afar-2/5/17), Rakmini Callimachi
24            acknowledges that because of Twitter and other social media, “In the most basic
25            enabled attacks Islamic State handlers acted as confidants and coaches, coaxing
26            recruits to embrace violence. … Because the recruits are instructed to use
27

28   5
         http://www.theguardian.com/world/2014/sep/24/isis-Twitter-youtube-message-social-media-jihadi

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 1       encrypted messaging applications, the guiding role played by the terrorist group
 2       often remains obscured. As a result, remotely guided plots in Europe, Asia, and
 3       the United States … were initially labeled the work of “lone wolves”, … and only
 4       later discovered to have direct communications with the group discovered.”
 5

 6              Defendants Knowingly Permit ISIS to Use Their Social Network
                 The Use of Twitter by Terrorists Has Been Widely Reported
 7

 8
     54. For years, the media has reported on the ISIS’s use of Defendants’ social media
 9
         sites and their refusal to take any meaningful action to stop it.
10
     55. In December 2011, the New York Times reported that the terrorist group al-
11
         Shabaab, “best known for chopping off hands and starving their own people, just
12
         opened a Twitter account and have been writing up a storm, bragging about
13
         recent attacks and taunting their enemies.”
14
     56. That same month, terrorism experts cautioned that “Twitter terrorism” was part of
15
         “an emerging trend” and that several branches of al Qaeda were using Twitter to
16
         recruit individuals, fundraise and distribute propaganda more efficiently. New
17
         York Times correspondent, Rukmini Callimachi, probably the most significant
18
         reporter covering terrorism, acknowledges that social media and specifically
19
         Twitter, allows her to “get inside the minds of ISIS”. Moreover, Callimachi
20
         acknowledges, “Twitter is the main engine” in ISIS communication, messaging
21
         and recruiting. “Al Qaeda (and now ISIS) have created a structure that was meant
22
         to regenerate itself and no longer be dependent on just one person (bin Laden).
23
         The Ideology is now a living, breathing thing, because of Twitter. You no longer
24
         have to go to some closed dark-web forum to see their stuff.” Using Twitter, you
25
         don’t need to even know the exact address to gain access to messages. “With
26
         Twitter, you can guess; you look for certain words and you end up finding these
27
         accounts. And then it’s kind of organic; You go to one account, then you go to
28

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 1       their followers and you follow all those people, and suddenly you’re in the know.
 2       “(Rukmini Callimachi, Wired.com, 8/3/16.)
 3   57. On November 20, 2015, Business Insider reported that ISIS members have been
 4       providing a 34-page guide to operational security and communications available
 5       through multiple social medium platforms which delivers instructions to users
 6       about communications methods including specifics in the use of Twitter, for
 7       purposes of recruiting and radicalizing in the United States.
 8   58. On October 14, 2013, the BBC issued a report on “The Sympatic,” “one of the
 9       most important spokesmen of the Islamic State of Iraq and the Levant on the
10       social contact website Twitter” who famously tweeted: “I swear by God that with
11       us there are mujahideen who are not more than 15 years old!! Where are the men
12       of the [Arabian] Peninsula? By God, shame on you.”
13   59. On October 31, 2013, Agence France-Presse reported on an ISIS video depicting
14       a prison break at Abu Ghraib and the execution of Iraqi army officers that was
15       “posted on jihadi forums and Twitter.”
16   60. On June 19, 2014, CNN reported on ISIS’s use of Twitter to raise money for
17       weapons, food, and operations. The next day, Seth Jones, Associate Director of
18       International Security and Defense Policy Center, stated in an interview on CNN
19       that Twitter was widely used by terrorist groups like ISIS to collect information,
20       fundraise and recruit. “Social media is where it’s at for these groups,” he added.
21   61. On August 21, 2014, after ISIS tweeted out the graphic video showing the
22       beheading of American James Foley, the Wall Street Journal warned that Twitter
23       could no longer afford to be the “Wild West” of social media.
24   62. In September 2014, Time Magazine quoted terrorism expert Rita Katz, who
25       observed that “[f]or several years, ISIS followers have been hijacking Twitter to
26       freely promote their jihad with very little to no interference at all. . . . Twitter’s
27       lack of action has resulted in a strong, and massive pro-ISIS presence on their
28

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 1         social media platform, consisting of campaigns to mobilize, recruit and
 2         terrorize.”’
 3                        The Use of Facebook by ISIS has been widely reported

 4
     63. On January 10, 2012, CBC News Released an article stating that Facebook is
 5
           being used by terrorist organizations for recruitment and to gather military and
 6
           political intelligence "Many users don't even bother finding out who they are
 7
           confirming as 'friend' and to whom they are providing access to a large amount of
 8
           information on their personal life. The terrorists themselves, in parallel, are able
 9
           to create false profiles that enable them to get into highly visible groups," he
10
           said 6.
11
     64. On January 10, 2014, the Washington post released an article titled Why aren’t
12
           YouTube, Facebook, and Twitter doing more to stop terrorists from inciting
13
           violence? 7
14
     65. In June 2014, the Washington times reported that Facebook is refusing to take
15
           down a known ISIS terror group fan page that “has nearly 6,000 members and
16
           adoringly quotes Abu Musab al-Zarqawi, founder of al-Qaeda in Iraq who was
17
           killed by U.S. forces in 2006. 8”
18
     66. On August 21, 2014, the anti-defamation league explained that ISIS supporters
19
           on Twitter have “not only promoted ISIS propaganda (primarily in English) but
20
           has also directed supporters to his English-language Facebook pages
21
           (continuously replacing pages as they are removed by Facebook for content
22
           violation) that do the same. 9”
23
     67. On October 28, 2015, at the Radicalization: Social Media And The Rise Of
24
           Terrorism hearing it was reported that Zale Thompson who attacked four New
25
     6
       http://www.cbc.ca/news/technology/terrorist-groups-recruiting-through-social-media-1.1131053
26   7
       https://www.washingtonpost.com/posteverything/wp/2014/07/10/farrow-why-arent-youtube-facebook-and-twitter-
     doing-more-to-stop-terrorists-from-inciting-violence/?utm_term=.b14e3747de40
27   8
       http://www.washingtontimes.com/news/2014/jun/16/husain-facebook-refuses-take-down-isis-terror-grou/
     9
       http://www.adl.org/combating-hate/international-extremism-terrorism/c/isis-islamic-state-social-
28   media.html?referrer=https://www.google.com/#.Vzs0xfkrIdU

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 1         York City Police Officers with an ax posted on Facebook “Which is better, to sit
 2         around and do nothing or to wage jihad. 10”
 3   68. At this same hearing, it was also reported that in September 2014 “Alton Nolen, a
 4         convert to Islam and ex-convict who had just been fired from his job at a food
 5         processing plant, entered his former workplace and beheaded an employee with a
 6         knife. This attack combines elements of workplace violence and terrorism. Nolen
 7         had been a voracious consumer of IS propaganda, a fact reflected on his
 8         Facebook page.11”
 9   69. On November 11, 2015, it was reported that one of the attackers from a terrorist
10         bus attack two weeks prior “was a regular on Facebook, where he had already
11         posted a “will for any martyr.” Very likely, they made use of one of the
12         thousands of posts, manuals and instructional videos circulating in Palestinian
13         society these last few weeks, like the image, shared by thousands on Facebook,
14         showing an anatomical chart of the human body with advice on where to stab for
15         maximal damage. 12”
16   70. On December 4, 2015, The Counter Extremism Project released a statement that
17         “Today’s news that one of the shooters in the San Bernardino attack that killed 14
18         innocent people pledged allegiance to ISIS in a Facebook posting demonstrates
19         once again that the threat of ISIS and violent Islamist extremist ideology knows
20         no borders.13”
21   71. On April 8, 2016, the Mirror reported that “Jihadi fighters in the Middle East are
22         using Facebook to buy and sell heavy duty weaponry” and that “Fighters in ISIS-
23         linked regions in Libya are creating secret arms bazaars and hosting them on the
24   10
        https://oversight.house.gov/wp-content/uploads/2015/10/10-28-2015-Natl-Security-Subcommittee-Hearing-on-
25   Radicalization-Purdy-TRC-Testimony.pdf
     11
        https://oversight.house.gov/wp-content/uploads/2015/10/10-28-2015-Natl-Security-Subcommittee-Hearing-on-
     Radicalization-Gartenstein-Ross-FDD-Testimony.pdf
26   12
        http://www.nytimes.com/2015/11/03/opinion/the-facebook-intifada.html?_r=1
     13
        http://www.counterextremism.com/press/counter-extremism-project-releases-statement-news-san-bernardino-shooter-
27   pledged-
     allegiance?utm_content=buffer38967&utm_medium=social&utm_source=facebook.com&utm_campaign=buffer#sthash.
28   iJjhU3bF.dpuf

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 1         massive social network. Because of Facebook's ability to create groups and to
 2         send secure payments through its Messenger application, it works as the perfect
 3         platform for illegal deals. 14”
 4
                           The Use of YouTube by ISIS has been widely reported
 5
     72. The media has widely reported on terrorists’ use of YouTube and YouTube’s
 6
           refusal to take any meaningful action to stop it.
 7
     73. On July 7, 2014, CBS Local reported that “militants post beheading videos on
 8
           sites like Google’s YouTube, giving an image the chance to go viral before being
 9
           shut down.15”
10
     74. On March 1, 2015, the New York Times reported that “some of the most
11
           sophisticated recruitment efforts by the Islamic State, particularly online, are
12
           geared toward Westerners, featuring speakers who are fluent in English. For
13
           instance, in a video available on YouTube and Facebook, the Islamic State has
14
           manipulated the video game Grand Theft Auto, making the game’s officers look
15
           like New York police officers and showing how a militant could attack them. 16”
16
     75. On March 3, 2015, CNN Money reported that YouTube was placing
17
           advertisements in front of ISIS videos 17.
18
     76. On March 10, 2015, Death and Taxes released an article titled Beer ads keep
19
           showing up on ISIS YouTube videos 18.
20
     77. On March 10, 2015, NBC News released an article titled Ads Shown Before
21
           YouTube ISIS Videos Catch Companies Off-Guard19.
22
     78. On March 11, 2015, NewsMediaRockstars.com reported that “Major corporations
23
           like Procter and Gamble, Anheuser-Busch, and Toyota have all been forced to
24

25   14
        http://www.mirror.co.uk/tech/isis-terrorists-use-facebook-buy-7713893
     15
        http://sanfrancisco.cbslocal.com/2015/07/24/should-Twitter-facebook-be-held-liable-for-a-terrorist-attack/
26   16
        http://www.nytimes.com/2015/03/01/nyregion/brooklyn-arrests-highlight-challenges-in-fighting-of-isis-and-known-
     wolves.html?_r=0
27   17
        http://money.cnn.com/2015/03/03/technology/isis-ads-youtube/
     18
        http://www.deathandtaxesmag.com/239510/beer-ads-keep-showing-up-on-isis-youtube-videos/
28   19
        https://www.nbcnews.com/storyline/isis-terror/ads-shown-isis-videos-youtube-catch-companies-guard-n320946

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 1         make apologies after ads for their products started rolling in front of ISIS
 2         recruiting videos which have been cropping up ever more frequently on the
 3         site.20”
 4   79. On August 6, 2015, Journal-Neo.org reported that “The well-known online video
 5         platform YouTube serves as the main media platform of these radical fighters. 21”
 6   80. On April 28, 2015, MusicTechPolicy.com reported that the Islamic State has
 7         released a new YouTube video “showcasing recent battles in the Al Sufiyah area
 8         of eastern Ramadi. Approximately 30 Iraqi police have been killed and around
 9         100 more have been injured in recent days in the western provincial capital.22”
10   81. In March 2016, the Morning Consult reported that “a video ad from a pro-Ted
11         Cruz Super PAC (Reigniting the Promise PAC) was the inadvertent prelude to a
12         video produced by an official media outlet of the Islamic State terror group. The
13         outlet, Al-Hayat Media Center, produces propaganda for ISIS. Digital Citizens
14         Alliance says it’s likely an ISIS supporter uploaded that video.”
15   82. In March 2016, the digital citizens’ alliance found several examples of campaign
16         ads placed on ISIS videos 23.
17
           Defendants Have Rebuffed Numerous Requests to Comply with U.S. Law
18

19   83. Throughout this period, both the U.S. government and the public at large have
20         urged Defendants to stop providing its services to terrorists.
21   84. In December 2011, an Israeli law group threatened to file suit against Twitter for
22         allowing terrorist groups like Hezbollah to use its social network in violation of
23         U.S. anti-terrorism laws.
24

25

26   20
        http://newmediarockstars.com/2015/03/advertisers-apologize-for-ads-shown-on-isis-youtube-videos/
     21
        http://journal-neo.org/2015/06/08/hi-tech-tools-of-isil-propaganda/
27   22
        https://musictechpolicy.com/2015/04/28/live-from-youtubeistan-google-still-providing-material-support-for-isis/
     23
        https://media.gractions.com/314A5A5A9ABBBBC5E3BD824CF47C46EF4B9D3A76/cbb90db1-b1aa-4b29-a4d5-
28   5d6453acc2cd.pdf

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 1   85. In December 2012, several members of Congress wrote to then FBI Director
 2       Robert Mueller asking the Bureau to demand that the Twitter block the accounts
 3       of various terrorist groups.
 4   86. In a committee hearing held on August 2, 2012, Rep. Ted Poe, then chair of the
 5       House Foreign Affairs Subcommittee on Terrorism, lamented that “when it
 6       comes to a terrorist using Twitter, Twitter has not shut down or suspended a
 7       single account.” “Terrorists are using Twitter,” Rep. Poe added, and “[i]t seems
 8       like it’s a violation of the law.” In 2015, Rep. Poe again reported that Twitter had
 9       consistently failed to respond sufficiently to pleas to shut down clear incitements
10       to violence by terrorists.
11   87. Recently, former Secretary of State Hillary Clinton has urged Defendants to
12       become more aggressive in preventing ISIS from using its network. “Resolve
13       means depriving jihadists of virtual territory, just as we work to deprive them of
14       actual territory,” she told one audience. Later, former Secy. Clinton stated that
15       Twitter and other companies “cannot permit the recruitment and the actual
16       direction of attacks or the celebration of violence by this sophisticated Internet
17       user. They’re going to have to help us take down these announcements and these
18       appeals.”
19   88. On January 7, 2016, White House officials announced that they would hold high-
20       level discussions with Defendants to encourage them “to do more to block
21       terrorists” from using their services. “The primary purpose is for government
22       officials to press the biggest Internet firms to take a more proactive approach to
23       countering terrorist messages and recruitment online. . . . That issue has long
24       vexed U.S. counterterrorism officials, as terror groups use Twitter . . . to spread
25       terrorist propaganda, cultivate followers and steer them toward committing
26       violence. But the companies have resisted some requests by law-enforcement
27       leaders to take action . . .”
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 1
                  Defendants have failed to prevent ISIS from using its services

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     89. Despite these appeals, Defendants have failed to take meaningful action.
 3
     90. In a January 2011 blog post entitled “The tweets Must Flow,” Twitter co-founder
 4
         Biz Stone and Twitter General Counsel Alex Macgillivray wrote: “We don’t
 5
         always agree with the things people choose to tweet, but we keep the information
 6
         flowing irrespective of any view we may have about the content.”
 7
     91. On June 20, 2014, Twitter founder Biz Stone, responding to media questions
 8
         about ISIS’s use of Twitter to publicize its acts of terrorism, said, “[i]f you want
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         to create a platform that allows for the freedom of expression for hundreds of
10
         millions of people around the world, you really have to take the good with the
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         bad.”
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     92. In September 2014, Twitter spokesperson Nu Wexler reiterated Twitter’s hands-
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         off approach, telling the press, “Twitter users around the world send
14
         approximately 500 million tweets each day, and we do not monitor them
15
         proactively.” “The Twitter Rules” reiterated that Twitter “do[es] not actively
16
         monitor and will not censor user content, except in exceptional circumstances.”
17
         In February 2015, Twitter confirmed that it does not proactively monitor content
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         and that it reviews only that content which is reported by other users as violating
19
         its rules.
20
     93. Most technology experts agree that Defendants could and should be doing more
21
         to stop ISIS from using its social network. “When Twitter says, ‘We can’t do
22
         this,’ I don’t believe that,” said Hany Farid, chairman of the computer science
23
         department at Dartmouth College. Mr. Farid, who co-developed a child
24
         pornography tracking system with Microsoft, says that the same technology could
25
         be applied to terror content, so long as companies were motivated to do so.
26
         “There’s no fundamental technology or engineering limitation,” he said. “This is
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 1       a business or policy decision. Unless the companies have decided that they just
 2       can’t be bothered.”
 3   94. According to Rita Katz, the director of SITE Intelligence Group, “Twitter is not
 4       doing enough. With the technology Twitter has, they can immediately stop these
 5       accounts, but they have done nothing to stop the dissemination and recruitment of
 6       lone wolf terrorists.”
 7   95. Even when Defendants shut down an ISIS-linked account, they do nothing to stop
 8       it from springing right back up. According to the New York Times, the Twitter
 9       account of the pro- ISIS group Asawitiri Media has had 335 accounts. When its
10       account @TurMedia333 was shut down, it started @TurMedia334. When that
11       was shut down, it started @TurMedia335. This “naming convention — adding
12       one digit to a new account after the last one is suspended — does not seem as if it
13       would require artificial intelligence to spot.” Each of these accounts also used the
14       same user photograph of a bearded man’s face over and over again. In the hours
15       after the shooting attack in San Bernardino, California on December 2, 2015,
16       @TurMedia335 tweeted: “California, we have already arrived with our soldiers.
17       Decide how to be your end, with knife or bomb.”
18   96. Using this simplistic naming scheme is critical to ISIS’s use of social media.
19       Without a common prefix, it would be difficult for followers of ISIS accounts to
20       know the new name of the account.
21   97. Because of the simplistic renaming scheme, Defendants could easily detect
22       names that are likely to be replacement accounts and delete them almost as soon
23       as they are created. Yet Defendants have failed to implement such a basic account
24       detection methodology.
25   98. Furthermore, ISIS keeps track of the followers of each account. Once an account
26       is deleted by one of the Defendants and then regenerated, ISIS uses a bot to
27       contact each of its followers asking them to connect. This allows ISIS to
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 1       reconstitute the connections for each account very quickly. Defendants could
 2       easily detect such activity but chose not to.
 3   99. Although Defendants proclaim that they do take accounts down including those
 4       of ISIS, Defendants do nothing to keep those accounts down. ISIS and other
 5       nefarious groups are dependent upon having a social media network from which
 6       to collect money and conduct terrorist operations including recruitment and
 7       radicalization.
 8   100. The following example illustrates how Defendants allow ISIS to quickly
 9       construct networks of followers. Below is a posting from Twitter captured on
10       June 20, 2016. The individual is named “DriftOne00146” and he proudly
11       proclaims that this is the 146th version of his account. With only 11 tweets, this
12       individual is followed by 349 followers. This is very suspicious activity.
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         Figure 6: DriftOne00146 posting June 20, 2016
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     101. The very next day, this individual now has 547 followers with only 3 additional
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         tweets.
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         Figure 7: DriftOne00146 posting June 21, 2016
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     102. The next morning, this individual’s account was taken down by Twitter. That
13
         afternoon, he was back up as DriftOne0147 with 80 followers.
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           Figure 8: DriftOne0147 posting June 22, 2016
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 1   103. The very next week on June 28, 2016, the same individual was back up as
 2       DriftOne150. Most disturbing is that his posting of #Bangladesh and #Dhaka just
 3       three days before the unfortunate ISIS attack in Dhaka, Bangladesh.
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14         Figure 9: DriftOne150 posting June 28, 2016
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16   104. The day after the attacks, he is now DriftOne0151 and he posts pictures of those

17       individuals who conducted the attacks.

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         Figure 10: DriftOne0151 posting July 2, 2016
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     105. What the above example clearly demonstrates is that there is a pattern that is
14
         easily detectable without reference to the content. As such, a content-neutral
15
         algorithm could be easily developed that would prohibit the above behavior.
16
         First, there is a text prefix to the username that contains a numerical suffix. When
17
         an account is taken down by a Defendant, assuredly all such names are tracked by
18
         Defendants. It would be trivial to detect names that appear to have the same name
19
         root with a numerical suffix which is incremented. By limiting the ability to
20
         simply create a new account by incrementing a numerical suffix to one which has
21
         been deleted, this will disrupt the ability of individuals and organizations from
22
         using Defendants networks as an instrument for conducting terrorist operations.
23
     106. Prohibiting this conduct would be simple for Defendants to implement and not
24
         impinge upon the utility of Defendants sites. There is no legitimate purpose for
25
         allowing the use of fixed prefix/incremental numerical suffix names. Preventing
26
         the use of these names once a similarly named account would not place a
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 1       significant burden on Defendants to implement nor would it place any “chilling”
 2       effect on the use of Defendants’ sites.
 3   107. Sending out large numbers of requests to connect with friends/followers from a
 4       newly created account is also suspicious activity. As shown in the “DriftOne”
 5       example above, it is clear that this individual must be keeping track of those
 6       previously connected. When an account is taken down and then re-established,
 7       the individual then uses an automated method to send out requests to all those
 8       members previously connected. Thus, accounts for ISIS and others can quickly
 9       reconstitute after being deleted. Such activity is suspicious on its face.
10   108. Clearly, it is not normal activity for a newly created account to send out large
11       numbers of requests for friends and followers immediately after creation. It is
12       further unusual for those connections requests to be accepted in a very short
13       period of time. As such, this activity would be easy to detect and could be
14       prohibited by Defendants in a content-neutral manner as the content is never
15       considered; only the conduct.
16   109. Furthermore, limiting the rapidity with which a newly created account can send
17       requests to friends/followers would not place a significant burden on Defendants
18       to implement. Once again, such activity is suspicious and suggestive of
19       reconstitution of an account which was deleted by Defendants. In addition,
20       Defendants could easily track that a newly created account similarly named to
21       one previously taken down is sending out large numbers of requests in a very
22       short period of time.
23   110. Because the suspicious activity used by ISIS and other nefarious organizations
24       engaged in illegal activities is easily detectable and preventable and that
25       Defendants are fully aware that these organizations are using their networks to
26       engage in illegal activity demonstrates that Defendants are acting knowingly and
27       recklessly allowing such illegal conduct. ISIS is dependent on using social media
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 1       to conduct its terrorist operations. Limiting ISIS’ ability to rapidly connect and
 2       reconnect to supports Thus, Defendants knowing and reckless conduct provides
 3       materials support to ISIS and other nefarious organizations.
 4   111. Notably, while Twitter has now put in place a rule that supposedly prohibits
 5       “threats of violence . . . including threatening or promoting terrorism,” many
 6       ISIS-themed accounts are still easily found on Twitter.com. To this day, Twitter
 7       also permits groups designated by the U.S. government as Foreign Terrorist
 8       Organizations to maintain official accounts, including Hamas (@hamasinfo and
 9       @HamasInfoEn) and Hizbollah (@almanarnews).
10   112. On November 17, 2015, the hacking group Anonymous took down several
11       thousand ISIS Twitter accounts. That an external third party could identify and
12       disrupt ISIS Twitter accounts confirms that Twitter itself could have prevented or
13       substantially limited ISIS’ use of Twitter
14
      Twitter, Facebook, and Google Profit from allowing ISIS to use their services
15

16   113. Astonishingly, Defendants routinely profit from ISIS. Each Defendant places ads
17       on ISIS postings and derives revenue for the ad placement.
18   114. These ads are not placed randomly by Defendants. Instead, they are targeted to
19       the viewer using knowledge about the viewer as well as information about the
20       content being viewed. The following sites for each Defendant show how targeting
21       works: https://business.Twitter.com/en/targeting.html,
22       https://www.facebook.com/business/a/online-sales/ad-targeting-details,
23       https://static.googleusercontent.com/media/www.youtube.com/en//yt/advertise/m
24       edias/pdfs/targeting-onesheeter-en.pdf.
25   115. By specifically targeting advertisements based on viewers and content,
26       Defendants are no longer simply passing through the content of third parties.
27       Defendants are themselves creating content because Defendants exercise control
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 1            over what advertisement to match with an ISIS posting. Furthermore,
 2            Defendants’ profits are enhanced by charging advertisers extra for targeting
 3            advertisements at viewers based upon knowledge of the viewer and the content
 4            being viewed.
 5   116. Not only does Defendant Google profit from ISIS, it shares some of those
 6            revenues with ISIS. In order for ads to appear associated with a posting on a
 7            YouTube video, the poster must create a Google AdSense account. The poster
 8            must the register the account for monetization 24.
 9

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11   117. According to Google, each video must be approved in order for ads to be placed.
12            These videos must meet Googles’ terms of service.
13

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15   118. Videos that are approved generate revenue for both the poster and for Google.
16            Therefore, according to its terms, if there are ads associated with a YouTube
17            video, the video has been approved by Google, Google is earning revenue from
18            each view of that video, and Google is sharing revenue with the poster.
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          https://www.youtube.com/account_monetization accessed on 05/24/2016.

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 1   119. With respect to ISIS, Google has placed ads on ISIS postings.
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14       Figure 11 ISIS video on YouTube with ad place by Google

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     120. Given that ad placement on videos requires Google’s specific approval of the
16
         video according to Google’s terms and conditions, any video which is associated
17
         with advertising has been approved by Google.
18
     121. Because ads appear on the above video posted by ISIS, this means that Google
19
         specifically approved the video for monetization, Google earned revenue from
20
         each view of this video, and Google shared the revenue with ISIS. As a result,
21
         Google provides material support to ISIS.
22
     122. Twitter also profits from material posted by ISIS by routinely placing ads. For
23
         example, a view of the account of “DJ Nasheed” on May 17, 2016, shows that
24
         Twitter placed an ad for OneNorth for their “M.E.A.N. Stack” offering. As such,
25
         Twitter provides material support to ISIS and is compensated for the effort.
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13       Figure 12 ISIS post on Twitter with ad placed by Twitter

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     123. Facebook also profits from ISIS postings. On May 31, 2016, the following
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         screenshot was collected:
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     Figure 13 ISIS post on Facebook with add placed by Facebook
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 1   124. As such, Facebook provides material support to ISIS and is compensated for the
 2       effort.
 3   125. Thus, not only does each Defendant provide material support to ISIS by allowing
 4       ISIS to make use of their social media sites, each Defendant derives revenue from
 5       ISIS postings irrespective of the content of ISIS’s postings.
 6
                          The December 2, 2015 San Bernardino Attack
 7

 8   126. On December 2, 2015, Radicalized ISIS supporters Syed Rizwan Farook and
 9       Tashfeen Malik stormed the Inland Regional Center in San Bernardino,
10       California firing more than 100 bullets into a staff meeting of the environmental
11       health department. In all, 14 people were murdered and 22 were seriously injured.
12       Subsequent to the attack, Farook and Malik were killed in a shootout with police.
13   127. Among those in attendance at the Inland Regional Center in San Bernardino on
14       the date of the attack were Plaintiffs Hanan Megalla and Veronica Martinez.
15   128. Hanan Megalla was attending a holiday party with her co-employees at the Inland
16       Regional Center, when one of her co-employees, Syed Rizwan Farook, and his
17       wife Tashfeen Malik, who were armed with several firearms, walked into the
18       Inland Regional Center and into the conference room where Hanan Magalla and
19       her co-employees were celebrating in, and opened fire at all persons in said
20       conference room. Hanan Magalla was struck by gunfire, and was a witness to the
21       mass shooting that took the lives of many of her co-employees and friends and
22       injured several others. She suffered serious and permanent physical and
23       psychological injuries.
24   129. Osama Megalla, is the lawful husband of Hanan Megalla. As a result of the
25       incident and because of the serious and permanent nature of the injury to his wife,
26       Osama Megalla, suffered the loss of society and consortium of his wife and will
27       continue to suffer such loss for an indefinite period.
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 1   130. Veronica Martinez was attending a holiday party with her co-employees at the
 2       Inland Regional Center, when one of her co-employees, Syed Rizwan Farook,
 3       and his wife Tashfeen Malik, who were armed with several firearms, walked into
 4       the Inland Regional Center and into the conference room Veronica Martinez and
 5       her co-employees were celebrating in, and opened fire at all persons in said
 6       conference room. Ms. Martinez hid and feigned death and experienced the death
 7       of several co-employees. As a result, she suffered serious and permanent
 8       psychological injuries.
 9   131. Abel Martinez, is the lawful husband of Veronica Martinez. As a result of the
10       incident and because of the serious and permanent nature of the injury to his wife,
11       Abel Martinez, suffered the loss of society and consortium of his wife and will
12       continue to suffer such loss for an indefinite period.
13   132. US Department of Justice analysts confirmed in their 141-page summary on the
14       San Bernardino, massacre, that “two individuals opened fire indiscriminately…as
15       part of a vicious and premeditated terrorist attack…
16   133. On December 2, 2015, radicalized, ISIS supporters, Syed Rizwan Farook and his
17       spouse Tashfeen Malik committed an act of international terrorism by spraying
18       bullets into a crowd of employees at a holiday party for the environmental health
19       department in San Bernardino.
20   134. Investigators have confirmed that Farook and Malik started a dialogue on line via
21       a dating web site, and married a short time after Farook travelled to Saudi Arabia
22       in 2014. Malik travelled to California to live with her husband shortly after their
23       wedding. At the time of their terrorist attack and ultimately their deaths, Malik
24       and Farook had a 6-month-old daughter.
25   135. The acts of terrorism in the San Bernardino massacre were conducted against
26       Farook’s former co-workers who assembled for the scheduled environmental
27

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 1       health department training session, to be followed by a celebration of the holiday
 2       season.
 3   136. Instead, Farook and Malik killed 14 people and severely injured 22 others during
 4       their terrorist massacre. The assassins, Farook and Malik were also killed the
 5       same day by resisting arrest and entering a shoot-out with law enforcement.
 6   137. Farook and Malik were dressed in black outfits and face coverings, and armed
 7       with .223 AR-15 type semi-automatic rifles, and a .9mm semi-automatic pistol,
 8       as well as assembled pipe bombs that failed to detonate.
 9   138. Just a couple of days later, ISIS embraced the acts of terrorism by declaring on
10       their station, al-Bayan Radio, “Two followers of Islamic State attacked several
11       days ago a center in San Bernardino in California, we pray to God to accept them
12       as Martyrs.”
13   139. Moreover, during the time of the shooting massacre, terrorist Tashfeen Malik,
14       declared on Facebook her allegiance and pledge of loyalty to ISIS leader, Abu
15       Bakr al-Baghdadi.
16   140. On December 9, 2015, during Senate Judiciary testimony concerning the San
17       Bernardino terrorist attack, former FBI Director James Comey, stated for the
18       record that the investigation by the FBI had established that Farook and Malik
19       were “consuming poison on the internet” and that both had become radicalized to
20       jihadism and to martyrdom via social media platforms available to them.
21   141. During his testimony, Comey confirmed that Farook and Malik were
22       “homegrown violent extremists, inspired by foreign terrorist organizations.”
23   142. The FBI according to the report of the New York Times, (December 5,2015) has
24       confirmed that they had evidence that Farook had face to face meetings a few
25       years ago with 5 people the Bureau investigated and labelled as having “links to
26       terrorism”.
27

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 1   143. Further links to terrorism were discovered in the home of Farook and Malik,
 2       where FBI search uncovered what they described as “pipe bombs, bomb making
 3       materials and thousands of rounds of ammunition along with several more guns.”
 4   144. Speaking of “home grown international terrorists, in the US, including Farook
 5       and Malik in San Bernardino, Brookings Institute Terrorism expert, Daniel
 6       Byman has stated the Islamic State has made their radicalization of US extremists
 7       in 2014 releases via the ISIS Online magazine Dabiq which urged in their
 8       October 2014 on line edition” At this point of our crusade. It is very important
 9       that attacks take place in every country that has entered into alliance against the
10       Islamic State, especially the U.S., U.K., France, Australia and Germany.”
11   145. The DOJ, in their 2016 report entitled “Bringing Calm to Chaos: A critical
12       incident review of the San Bernardino public safety response to the December 2,
13       2015, terrorist shooting at the Island Regional Center”, confirms that the attack
14       committed by Rizwan Farouk, and Tashfeen Malik was in fact an act of
15       international terrorism. (page 48)
16   146. A factor helping to confirm that the massacre in San Bernardino was an act of
17       terrorism was the discovery in the aftermath by FBI SWAT agents, that Terrorist
18       Farook had evidently assembled and left in a “suspicious package”, explosive
19       devices that miraculously failed to detonate and were later safely detonated by the
20       bomb squad.
21   147. The DOJ summary report confirms that “investigators believed the explosive
22       devices left by Farook in the conference room where the carnage occurred, was
23       likely intended to be detonated upon the arrival of the first responders who would
24       be giving aid to the wounded-a frequent, well documented practice in
25       international terror incidents.” (DOJ, San Bernardino Summary report, page 36).
26   148. FBI and DOJ investigators have indicated that they are of the belief that terrorists
27       Farook and Malik, left at the massacre site a remote-controlled toy car strapped
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 1       with the 3 rudimentary explosive devices. The deadly remote was found with
 2       Farook and Malik upon their deaths, and evidently did not work.
 3   149. FBI investigators have opined that the explosive devices along with the remote
 4       control was likely intended to be detonated against the first responders arriving to
 5       provide medical help to terrorism victims. Further they are potentially derived
 6       from Al Qaeda’s Inspire Magazine, plus the ISIS’ Dabiq Magazine, wherein the
 7       international terrorist organizations have provided “tips” and instructions to be
 8       utilized in preparation of such explosive devices as found at the scene of the San
 9       Bernardino carnage.
10   150. The attack has caused Plaintiff’s severe mental anguish, extreme emotional pain
11       and suffering.
12

13    Defendants’ Material Support of ISIS has a Direct Connection to the December
                2, 2015 San Bernardino Attack and is a Proximate Cause
14

15
     151. ISIS’s reputation as an organization that has engaged in and continues to engage
16
         in terrorist acts is widespread and has been reported in the world news media.
17
     152. ISIS’s designation as a Foreign Terrorist Organization is public knowledge that
18
         has likewise been widely reported in the world news media.
19
     153. At all times relevant to this Complaint, Defendants have known that ISIS is an
20
         organization that has engaged in and continues to engage in terrorist activity.
21
     154. At all times relevant to this Complaint, Defendants have known that ISIS is
22
         designated as a Foreign Terrorist Organization.
23
     155. Despite this knowledge, Defendants have for years knowingly provided its
24
         Services to ISIS, its members, organizations owned or controlled by ISIS, and
25
         organizations and individuals that provide financing and material support to ISIS,
26
         including individuals and organizations that are designated as and SDGTs.
27

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 1   156. The identifiers for ISIS-associated Twitter, You-Tube, and Facebook accounts are
 2        often publicized on ISIS websites, social media sites, and platforms.
 3   157. ISIS’s news and media organizations operate Twitter, YouTube, and Facebook
 4        accounts, and equipment often including separate accounts for Arabic and
 5        English.
 6   158. ISIS, its members, and its related entities and affiliates have operated numerous
 7        Twitter accounts of the defendants’ using their own names and displaying
 8        emblems and symbols associated with ISIS and its related terrorist entities.
 9   159. The rise of ISIS has been substantial fueled through their use of Defendants’
10        social media sites which have been used by ISIS for fundraising activities.
11        Furthermore, as discussed above, Defendant Google shares advertising revenue
12        with ISIS.
13   160. Defendants’ sites have been used by ISIS to conduct terrorist operations,
14        including the San Bernardino attack and have also been used as a recruitment tool
15        and fundraising tool.
16   161. The FBI believes that the San Bernardino shooters were self-radicalized on the
17        Internet and social media.
18   162. ISIS uses Defendants’ sites to radicalize individuals to conduct terrorist activities.
19        Farook and Malik were radicalized by ISIS’s use of Defendants’ tools to conduct
20        terrorist operations.
21   163. Even if Farook and Malik had never been directly in contact with ISIS, ISIS’ use
22        of social media directly influenced their actions on the day of the San Bernardino
23        massacre:
24               researchers, who identified and analyzed second-by-second online
                 records of 196 pro-ISIS groups operating during the first eight months of
25               2015, found that even though most of the 108,000-plus individual
26               members of these self-organized groups probably never met, they had a
                 striking ability to adapt and extend their online longevity, increase their
27

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 1
                     size and number, reincarnate when shut down — and inspire “lone
                     wolves” with no history of extremism to carry out horrific attacks 25.
 2
     164. Without the ability to use Defendants’ sites as tools to conduct terrorist
 3
           operations, ISIS would have substantially less funding, substantially less
 4
           exposure, and would not be able to recruit as many operatives.
 5
     165. Money raised through the use of Defendants sites was used by ISIS to conduct
 6
           terrorist operations including radicalizing Farook and Malik.
 7
     166. Individuals recruited by ISIS through the use of Defendants sites allowed ISIS to
 8
           conduct terrorist operations, including radicalizing Farook and Malik contributing
 9
           to their decision to launch the San Bernardino attack and injuring Plaintiffs.
10
     167. Subsequent to the San Bernardino attack and before their death, Malik pledged
11
           her allegiance to ISIS on Facebook. Facebook further confirmed that postings to
12
           an account established by Malic under an alias praised the Islamic state26.
13
     168. On December 5, 2015 ISIS claimed responsibility for the attack on its radio
14
           broadcast27.
15
     169. But for ISIS’ use of Defendants sites to raise funds, recruit, and conduct terrorist
16
           operations, ISIS’ ability to conduct terrorist operations would essentially
17
           evaporate. Here, had Defendants sites not been used by ISIS, ISIS would not have
18
           been able to radicalize Farook and Malik leading to the deadly attack in San
19
           Bernardino.
20

21                          Defendants Are Information Content Providers

22
     170. When individuals look at a page on one of Defendants’ sites that contains
23
           postings and advertisements, the page has been created by Defendants. In other
24
           words, a viewer does not simply see a posting. Nor does the viewer see just an
25

26

27   25
        http://www.homelandsecuritynewswire.com/dr20160620-tracking-analyzing-how-isis-recruits-through-social-media
     26
        http://www.cnbc.com/2015/12/05/san-bernardino-killers-were-our-followers-isis-claims.html
28   27
        Id.

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 1       advertisement. Defendants create a composite page of content from multiple
 2       sources.
 3   171. Defendants create this page by selecting which advertisement to match with the
 4       content on the page. This selection is done by Defendants’ proprietary algorithms
 5       that select the advertisement based on information about the viewer and the
 6       content being viewed. Thus, there is a content triangle matching postings,
 7       advertisements, and viewers.
 8   172. As discussed above, Defendants tout the ability to target advertisements as a
 9       benefit to advertising with the respective networks. Furthermore, Defendants
10       extract a premium from advertisers for the use of targeted advertising.
11   173. Although Defendants have not created the posting nor have they created the
12       advertisement, Defendants have created new unique content by choosing which
13       advertisement to combine with the posting with knowledge about the viewer.
14   174. Thus, Defendants have incorporated content from others into Defendant created
15       content for revenue purposes. Defendants’ choice to combine certain
16       advertisements with certain postings for specific viewers means that Defendants
17       are not simply passing along content created by third parties.
18   175. Specifically, as shown above, Defendants have incorporated ISIS postings along
19       with advertisements matched to the viewer and ISIS postings to create new
20       content for which Defendants have earned revenue. ISIS has received material
21       support as described above allowing them to conduct terrorist operations.
22
             The San Bernardino Attack Was an Act of International Terrorism
23

24   176. One of the state goals of ISIS is to use social media including Defendants
25       platforms to radicalize individuals to conduct attacks throughout the world,
26       including the United States.
27

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 1   177. By radicalizing individuals through social media, this allowed ISIS to exert its
 2         influence without the necessity of direct physical contact with these individuals.
 3         Furthermore, this allows ISIS to incite or participate in attacks without the
 4         necessity of sending its own operatives.
 5   178. Thus, an attack in the United States to which ISIS’ use of social media caused or
 6         contributed is an action by ISIS. Given that ISIS has been declared an
 7         international terrorist organization, such an action is an act of international
 8         terrorism.
 9   179. Farook and Malik were radicalized by ISIS’ use of social media. This was the
10         stated goal of ISIS. Farook and Mateen then carried out the deadly attack in San
11         Bernardino. Conducting terrorist acts via radicalized individuals is a stated goal
12         of ISIS.
13   180. Farook and Malik’s attack on the Inland Regional Center was a violent act
14         causing death and injury and constitutes numerous criminal acts under the laws of
15         the United States.
16   181. ISIS intended to intimidate and coerce western populations and governments
17         through a pattern of intimidation and coercion as discussed throughout Plaintiff’s
18         Complaint.
19   182. ISIS acts from outside the United States using Defendants’ platforms in a manner
20         and transcend national boundaries because of the international usage of
21         Defendants’ platforms.
22   183. But for ISIS’ postings using Defendants’ social media platforms, Farook and
23         Malik would not have engaged in their attack on the Inland Regional Center.
24   184. Farook and Malik’s terrorist actions were a direct result of ISIS’ actions and
25         given that ISIS is an international terrorist organization, Farook and Malik’s
26         actions were also an act of international terrorism.
27   ///
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 9                                      CLAIMS FOR RELIEF

10                                   FIRST CLAIM FOR RELIEF

11                    LIABILITY FOR AIDING AND ABETTING ACTS OF

12                      INTERNATIONAL TERRORISM PURSUANT TO

13                                     18 U.S.C. § 2333(a) and (d)

14   185. Each plaintiff here repeats and realleges each and every allegation of the
15         foregoing paragraphs as if fully set forth herein.
16   186. Since October 31, 2001, ISIS has been international terrorist organization.
17   187. ISIS has committed, planned, or authorized activities that involved violence or
18         acts dangerous to human life that are a violation of the criminal laws of the
19         United States, or that would be a criminal violation if committed within the
20         jurisdiction of the United States, including inter alia the prohibition on killing,
21         attempting to kill, causing serious bodily injury, or attempting to cause serious
22         bodily injury to U.S. citizens as set forth in 18 U.S.C. § 2332.
23   188. These activities committed, planned, or authorized by ISIS appear to have been,
24         and were intended to: (a) intimidate or coerce the civilian population of the
25         United States and other countries; (b) influence the policy of the Governments of
26         the United States and other countries by intimidation or coercion; or (c) affect the
27

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 1        conduct of the Governments of the United States and other countries by mass
 2        destruction, assassination, or kidnapping.
 3   189. These activities committed, planned, or authorized by ISIS occurred entirely or
 4        primarily outside of the territorial jurisdiction of the United States and constituted
 5        acts of international terrorism as defined in 18 U.S.C. § 2331(1).
 6   190. Plaintiffs have been injured in their person by reason of the acts of international
 7        terrorism committed, planned, or authorized by ISIS. At all times relevant to this
 8        action, Defendants knew that ISIS was a Foreign Terrorist Organization, that it
 9        had engaged in and continued to engage in illegal acts of terrorism, including
10        international terrorism.
11   191. Defendants knowingly provided substantial assistance and encouragement to
12        ISIS, and thus aided and abetted ISIS in committing, planning, or authorizing acts
13        of international terrorism, including the acts of international terrorism that injured
14        Plaintiffs.
15   192. By aiding and abetting ISIS in committing, planning, or authorizing acts of
16        international terrorism, including acts that caused Plaintiffs to be injured in his or
17        her person and property, Defendants are liable pursuant to 18 U.S.C. § 2333(a)
18        and (d) for threefold any and all damages that Plaintiffs have sustained as a result
19        of such injuries, and the costs of this suit, including attorney’s fees.
20   193. The services and support that Defendants purposefully, knowingly or with willful
21        blindness provided to ISIS constitute material support to the preparation and
22        carrying out of acts of international terrorism, including the attack in which
23        Plaintiffs were injured.
24   194. Defendants’ provision of material support to ISIS was a proximate cause of the
25        injury inflicted on Plaintiffs.
26   195. By virtue of its violations of 18 U.S.C. § 2339A, Defendants are liable pursuant
27        to 18 U.S.C. § 2333 for any and all damages that Plaintiffs have sustained.
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                    COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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11                                 SECOND CLAIM FOR RELIEF
12             LIABILITY FOR CONSPIRING IN FURTHERANCE OF ACTS OF
13                       INTERNATIONAL TERRORISM PURSUANT TO
14                                     18 U.S.C. § 2333(a) and (d)
15   196. Each plaintiff here repeats and realleges each and every allegation of the
16         foregoing paragraphs as if fully set forth herein.
17   197. Defendants knowingly agreed, licensed, and permitted ISIS, its affiliates, and
18         other radical groups to register and use Defendants’ sites to promote and carry
19         out ISIS’s activities, including ISIS’s illegal acts of international terrorism and
20         injured Plaintiffs.
21   198. Defendants were aware that U.S. federal law prohibited providing material
22         support and resources to, or engaging in transactions with, designated foreign
23         terrorist organizations and other specially designated terrorists.
24   199. Defendants thus conspired with ISIS in its illegal provision of Defendants’ sites
25         and equipment to promote and carry out ISIS’s illegal acts of international
26         terrorism, including the acts that injured Plaintiffs.
27

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 1   200. By conspiring with ISIS in furtherance of ISIS’s committing, planning, or
 2         authorizing acts of international terrorism, including acts that caused each of the
 3         Plaintiffs to be injured in his or her person and property, Defendants are liable
 4         pursuant to 18 U.S.C. § 2333(a) and (d) for threefold any and all damages that
 5         Plaintiffs have sustained as a result of such injuries, and the costs of this suit,
 6         including attorney’s fees.
 7   ///
 8   ///
 9   ///
10

11                                   THIRD CLAIM FOR RELIEF
12                PROVISION OF MATERIAL SUPPORT TO TERRORISTS IN
13                   VIOLATION OF 18 U.S.C. § 2339a AND 18 U.S.C. § 2333
14   201. Each plaintiff here repeats and realleges each and every allegation of the
15         foregoing paragraphs as if fully set forth herein.
16   202. The online social media platform and communication services which Defendants
17         knowingly provided to ISIS, including use of Defendants’ services, computers,
18         and communications equipment, substantially assisted ISIS in carrying out its
19         terrorist activities, including recruiting, radicalizing, and instructing terrorists,
20         raising funds, creating fear and carrying out attacks among other things.
21   203. These services and equipment constituted material support and resources
22         pursuant to 18 U.S.C. § 2339A and they facilitated acts of terrorism in violation
23         of 18 U.S.C. § 2332 that caused the deaths and injury of more than 36 individuals
24         at the Inland Regional Center in San Bernardino.
25   204. Defendants provided these services and equipment to ISIS, knowing that they
26         were to be used in preparation for, or in carrying out, criminal acts including the
27         acts that injured the Plaintiffs.
28

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 1   205. As set forth more fully above, but for the material support and resources provided
 2         by ISIS, the attack that injured the Plaintiffs would have been substantially more
 3         difficult to implement.
 4   206. By participating in the commission of violations of 18 U.S.C. § 2339A that have
 5         caused the Plaintiffs to be injured in his or her person, business or property,
 6         Defendants are liable pursuant to 18 U.S.C. § 2333 for any and all damages that
 7         Plaintiffs have sustained as a result of such injuries.
 8   ///
 9   ///
10

11                                   FOURTH CLAIM FOR RELIEF
12             PROVISION OF MATERIAL SUPPORT AND RESOURCES TO A
13                DESIGNATED FOREIGN TERRORIST ORGANIZATION IN
14              VIOLATION OF 18 U.S.C. § 2339B(a)(1) AND 18 U.S.C. § 2333(a)
15   207. Each plaintiff here repeats and realleges each and every allegation of the
16         foregoing paragraphs as if fully set forth herein.
17   208. By knowingly (or with willful blindness) providing their social media platforms
18         and communications services, including use of computer and communications
19         equipment, for the benefit of ISIS, Defendants have provided material support
20         and resources to a designated Foreign Terrorist Organization under the
21         Antiterrorism and Effective Death Penalty Act of 1996 in violation of 18 U.S.C §
22         2339B(a)(1).
23   209. Defendants knew of (or was willfully blind to) ISIS’ terrorist activities.
24   210. Defendants knew (or was willfully blind to the fact) that ISIS had been
25         designated a Foreign Terrorist Organization by the United States Government.
26   211. The Services and support that Defendants purposefully, knowingly or with willful
27         blindness provided to ISIS constitute material support to the preparation and
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 1         carrying out of acts of international terrorism, including the attack in which the
 2         Plaintiffs were killed or injured.
 3   212. The Defendants’ provision of material support to ISIS was a proximate cause of
 4         the injury inflicted on Plaintiffs.
 5   213. Defendants’ violation of 18 U.S.C. § 2339B proximately caused the damages to
 6         Plaintiffs described herein.
 7   214. By knowingly (or with willful blindness) providing material support to a
 8         designated Foreign Terrorist Organization, Defendants are therefore civilly liable
 9         for damages to Plaintiffs for his injuries pursuant to 18 U.S.C. § 2333(a).
10   ///
11   ///
12   ///
13   ///
14   ///
15

16                                   FIFTH CLAIM FOR RELIEF
17                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
18   215. Each plaintiff here repeats and realleges each and every allegation of the
19         foregoing paragraphs as if fully set forth herein.
20   216. Defendants engaged in negligent behavior by providing services to ISIS.
21   217. Defendants’ acts of providing services to ISIS constituted a willful violation of
22         federal statutes, and thus amounted to a willful violation of a statutory standard.
23   218. As a direct, foreseeable and proximate result of the conduct of Defendants as
24         alleged hereinabove, Plaintiffs has suffered severe emotional distress, and
25         therefore Defendants are liable to the Plaintiffs for Plaintiffs’ severe emotional
26         distress and related damages.
27

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 1                                PRAYER FOR RELIEF
 2

 3     1. WHEREFORE, Plaintiffs request that this Honorable Court:

 4           a. Accept jurisdiction over this action;
 5
             b. Enter judgment against Defendants and in favor of Plaintiffs for
 6

 7              compensatory damages in an amount to be determined at trial;

 8           c. Enter judgment against Defendants and in favor of Plaintiffs for treble
 9
                damages pursuant to 18 U.S.C. § 2333;
10

11           d. Enter judgment against Defendants and in favor of Plaintiffs for any and

12              all costs sustained in connection with the prosecution of this action,
13
                including attorneys’ fees, pursuant to 18 U.S.C. § 2333;
14

15           e. Order any equitable relief to which Plaintiffs might be entitled;

16           f. Enter an Order declaring that Defendants have violated, and are
17
                continuing to violate, the Anti-Terrorism Act, 18 U.S.C. § 2331 et seq.;
18

19              and
20           g. Grant such other and further relief as justice requires.
21

22
     Dated: November 30, 2017              CASILLAS & ASSOCIATES
23

24
                                           By /s/ Arnoldo Casillas
25                                         ARNOLDO CASILLAS
26
                                           DANIEL GILLETTE
                                           Attorneys for Plaintiffs
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 1

 2                             DEMAND FOR JURY TRIAL
 3        Plaintiffs hereby demand a trial by jury of all issues so triable.
 4

 5   Dated: November 30, 2017               CASILLAS & ASSOCIATES

 6
                                            By:   /s/ Arnoldo Casillas
 7                                                ARNOLDO CASILLAS
 8                                                DANIEL GILLETTE
                                                  Attorneys for Plaintiffs
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